
62 So.3d 99 (2011)
STATE of Louisiana
v.
Antoinette R. FRANK.
No. 2010-KP-0265.
Supreme Court of Louisiana.
April 25, 2011.
Writ granted. The ruling of the trial court denying relator's motion to recuse Judge Frank Marullo is vacated and the case is remanded to the district court for further proceedings. Given Judge White's subsequent order recusing herself from the proceedings both in this case and that of codefendant Rogers Lacaze, and the subsequent order of Judge Van Davis recusing Judge Marullo from post-conviction proceedings in Lacaze's case, the case is remanded to the criminal district court to reconsider the issue of whether recusal of Judge Marullo is likewise required in relator's case. See e.g., State v. Wille, 595 So.2d 1149, 1156 (La.1992) ("[I]f a judge is to take the stand as a witness, regardless of the nature or materiality of his testimony, he should be recused from presiding at the trial or hearing.").
KNOLL, J., would deny.
